UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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BRAINWAVE SCIENCE, INC.

                                    Plaintiff,


- against -

                                                                21-cv-4402 (BMC)


ARSHEE, INC., DR. LAWRENCE A.
FARWELL, DR. THIERRY MAISON and
BRAIN FINGERPRINTING FOUNDATION

                                     Defendants.
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                PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF
              ORDER TO SHOW CAUSE FOR A TEMPORARY INJUNCTION



Dated: New York, New York
November 2, 2021




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              PRELIMINARY STATEMENT AND STATEMENT OF FACTS

       Plaintiff Brainwave Science, Inc (BWS) is a small (under ten employees) company in the

business of developing and marketing a technology (iCognative®) which, by measurement of

“P300” brainwaves, allows investigators to ascertain whether particular information is or is not

present within a test subject’s mind. (See November 1, 2021 Affidavit of Krishna Ika, President

and Chief Executive Officer of Brainwave Science, Inc. (“Ika”) at 2, ¶3). BWS’ business model

involves sale of its systems by way of bids or “tenders” or “RFPs” with international government

agencies and vendors. (Ika at 7, ¶24).

       In or about April of 2021, BWS submitted a bid to a Bangladeshi government agency for

sale of its iCognative® system. BWS thereafter learned that a competing bid for a P300-related

system had been submitted by former BWS employee Dr. Lawrence A. Farwell (“Farwell”) in

conjunction with Defendant Arshee, Inc. ("Arshee"), Defendant Brain Fingerprinting Foundation

(“BFF”) and non-party Bangladeshi company Tracer Electrocom (“Tracer”). (Ika at 6, ¶17).

Farwell had served as the Chief Scientific Officer for BWS’ predecessor in interest, Brainwave

Science, LLC (“BWS, LLC”). (Ika at 2, ¶4)

       BWS subsequently received unconfirmed reports that the user interface utilized by BFF’s,

Farwell's and Arshee's product was identical to the interface designed by BWS’ former Chief

Technology Officer, Defendant Dr. Thierry Maison (“Maison”) during Maison’s employment with

Brainwave. (Ika at 6, ¶18). Maison, who had served as the Chief Architect for BWS’ iCognative®

System, had been employed as the Chief Technology Officer for BWS and BWS, LLC from June

2013 to February 2019. (Ika 3, ¶8). During his employment with BWS, LLC and BWS, Maison

led BWS’ development team’s efforts in designing, managing and refining the algorithms used by

their system. (Ika 3, ¶8).



                             Brainwave Science, Inc. v. Arshee et al (21-cv-4402 (BMC)
                                             Memorandum of Law
                                                   Page 1 of 10
       Within their subsequent investigation, BWS’ technology team members located an online

demonstration video wherein Farwell is depicted demonstrating a system with a nearly identical

user interface to that designed by Maison for BWS. (Ika at 6, ¶19 and Ika Exhibit B). BWS

thereafter confronted Maison regarding their suspicion that Maison had provided Farwell with

copies of their proprietary software code, user interfaces, algorithms and hardware (“Brainwave

Trade Secrets”). Maison admitted to, and provided evidence of, his transfer of the Brainwave

Trade Secrets to Farwell. Maison admitted that “a complete dump of the repository was created

and shared via a Google drive” with Farwell. Maison provided access to the Google drive used by

him to share the afore-referenced code with Farwell. (Ika at 6, ¶20 and Ika Exhibit E). Farwell’s

plagiarism of BWS' proprietary software code, user interfaces and algorithms was subsequently

confirmed by “Code Similarity Checker”, Codequiry®. Codequery®’s analysis indicates a 98-99%

likelihood of “plagiarism” by Farwell’s software. (Ika Page 7, ¶22-23 and Ika Exhibit C).

       Following its receipt of bids containing nearly identical software and user interfaces from

Defendants and BWS, the afore-referenced Bangladeshi agency elected not to do business with

either BWS or Defendants. In addition to the loss of economic opportunity, this has resulted in a

significant impairment of BWS’ goodwill and potential for future business opportunities with the

agency and other agencies within Bangladesh. It has also understandably caused substantial

frustration on the part of BWS’ Bangladeshi sales partner, who expended substantial resources,

and extended its own goodwill, in coordinating BWS’ bid with the agency. (Ika at 8, ¶26).

       BWS has recently been advised by its local sales partner of an upcoming tender with

another Bangladeshi agency for sale of a P300 system and that Arshee will again be participating

in the tender process. (Ika at 8, ¶ 27). Absent intervention by this Court, BWS and its Bangladeshi

sales partner will necessarily sustain additional immediate and irreparable impairment to their



                           Brainwave Science, Inc. v. Arshee et al (21-cv-4402 (BMC)
                                           Memorandum of Law
                                                 Page 2 of 10
respective goodwill with the Bangladeshi government and other international governments and

agencies.

                                               ARGUMENT

       Injunctive relief is appropriate where the party seeking the injunction shows "(a)

irreparable harm and (b) either (1) likelihood of success on the merits or (2) sufficiently serious

questions going to the merits to make them a fair ground for litigation and a balance of hardships

tipping decidedly toward the party requesting the preliminary relief." Citigroup Glob. Mkts., Inc.

v. VCG Special Opportunities Master Fund Ltd, 598 F.3d 30, 35 (2d Cir. 2010) (quoting Jackson

Dairy, Inc. v. HP. Hood & Sons, Inc., 596 F.2d 70, 72 (2d Cir. 1979)). For the reasons set forth

below, BWS has satisfied these requirements, as well as those required for relief under the Defend

Trade Secrets Act (18 U.S.C. § 1832 et seq.) (“DTSA”) and should be granted a temporary

injunction as outlined herein.


  I.        BWS Will Continue to Suffer Irreparable Harm if this Court Does Not Grant
            Injunctive Relief

       BWS will continue to suffer irreparable harm if this Court does not grant injunctive relief.

Courts in this Circuit have long acknowledged that "[p]erhaps the single most important

prerequisite for the issuance of a preliminary injunction is a demonstration that if it were not

granted the applicant is likely to suffer irreparable harm before a decision on the merits can be

granted." Payment All. Int'l, v. Ferreira, 530 F. Supp. 2d 477, 480 (S.D.N.Y. 2007) (citation

omitted). To satisfy this requirement, BWS must show that it will suffer '"an injury that is neither

remote nor speculative, but actual and imminent,' and one that cannot be redressed through a

monetary award." Id. (quoting Grand River Enter. Six Nations, Ltd. v. Pryor, 481.F.3d 60, 66 (2d

Cir. 2007)). Appropriately-tailored injunctions can be useful to protect plaintiffs from the effects



                           Brainwave Science, Inc. v. Arshee et al (21-cv-4402 (BMC)
                                           Memorandum of Law
                                                 Page 3 of 10
of misappropriated trade secrets. See generally Id. and Faiveley Transp. Malmo AB v. Wabtec

Corp., 559 F.3d 110, 119 (2d Cir. 2009).


        Here, injunctive relief is necessary to prevent further unlawful dissemination and

distribution of BWS’ proprietary software code, user interfaces, algorithms and hardware

(“Brainwave Trade Secrets”). BWS’ proprietary software code, user interfaces, algorithms and

hardware are the very information upon which BWS’ business is based. Furthermore, although

BWS’ damages associated with losing its trade secrets would alone be incalculable, Defendants

are also inflicting irreparable harm to BWS’ business relationships and damaging its goodwill.

“[P]rospective loss of goodwill alone is sufficient to support a finding of irreparable harm.”

Bulman. V. 2BKCO, Inc., 882 F.Supp.2d 551, 560 (S.D.N.Y., 2012).


  II.     Plaintiff is Likely to Succeed on the Merits of Its Defense of Trade Secrets Claims.

        Brainwave asserts claims for Defendants’ misappropriation of Brainwave’s Trade Secrets.

Pursuant to the Federal Defend Trade Secret Act (“DTSA”), a private right of action may be

brought for misappropriation of trade secrets related to a product or service used or intended for

use in interstate commerce. 18 U.S.C. §§ 1832, 1836. In relevant part, the statute imposes liability

on a person who, (1) “with intent to convert a trade secret ... to the economic benefit of anyone

other than the owner thereof” and (2) “intending or knowing that the offense will[ ] injure any

owner of that trade secret,” and (3) “without authorization,” (4) takes, conceals, copies, duplicates,

downloads, uploads, replicates, transmits, delivers, sends, or conveys the trade secret. 18 U.S.C. §

1832.

          A.      BWS’ proprietary software code, user interfaces and algorithms are Trade
                  Secrets.




                            Brainwave Science, Inc. v. Arshee et al (21-cv-4402 (BMC)
                                            Memorandum of Law
                                                  Page 4 of 10
       Under DTSA, a trade secret can take many forms and information, including, for example,

financial, business, and technical information, programs, or codes, whether tangible or intangible.

18 U.S.C. § 1839(3). In all events, however, information will not be deemed a trade secret unless

it meets two requirements: (1) the owner “has taken reasonable measures to keep such information

secret,” and (2) “the information derives independent economic value, actual or potential, from

not being generally known to, and not being readily ascertainable through proper means by,

another person who can obtain economic value from the disclosure or use of the information.” 18

U.S.C. § 1839(3)(A-B). BWS takes substantial measures to protect the secrecy of the proprietary

software code, user interfaces, algorithms and hardware comprising the Brainwave Trade Secrets.

These measures include utilizing secure cloud-based servers, visitor control systems,

alarming/self-locking doors, twenty-four live security personnel and confidentiality and non-

disclosure agreements with all employees, vendors and sales partners. (Ika at 5, ¶13). BWS also

takes the unusual step of also requiring that all potential customers execute confidentiality and

non-disclosure agreements prior to viewing or operating their system. (Ika at 5, ¶13).

       BWS’ proprietary software code, user interfaces, algorithms and hardware clearly have

“independent economic value, actual or potential, from not being generally known to, and not

being readily ascertainable through proper means by, another person who can obtain economic

value from the disclosure or use of the information”. Defendants themselves admit within their

Answer that BWS’ “proprietary code and user interfaces”, which are the subject of this claim, were

developed by Maison for BWS during his six years of employment with BWS (ECF 13 at ¶13).

Defendants further admit within their Answer that “the proprietary system developed by Maison

and BWS’ technology team successfully addressed a number of problems which had previously

prevented the effective use of P300-related technology by field agents. (ECF 13 at ¶14).



                           Brainwave Science, Inc. v. Arshee et al (21-cv-4402 (BMC)
                                           Memorandum of Law
                                                 Page 5 of 10
Defendants admit and acknowledge that “the code/algorithms developed by Maison and the

technology team eliminated “noise” which could provide false positive or negative responses.

(ECF 13 at ¶14).

       In defense of their claimed violation of the DTSA, Defendants assert that “P300 Brainwave

is not a trade secret.” (ECF 13 at ¶43).. This assertion, while correct, misses the point entirely. As

set forth within BWS’ Complaint, the concept of using P300 measurements to determine the

presence or absence of information within a subject’s brain is not proprietary to BWS. (ECF 1 at

11); Ika at 3, ¶9). However, as with many new or emerging scientific innovations, the challenge in

bringing P300 technology to market lies not within the underlying concept but in creating a

mechanism or system which allows a user to access and utilize the concept appropriately and

without years of training or technical expertise. BWS has developed its own P-300 based system

(“iCognative®”) which, by use of the Brainwave Trade Secrets:

               a) prompts testing personnel for appropriate stimuli;
               b) displays stimuli to testing subjects in optimal order and at
                  optimal intervals;
               c) captures appropriate P300 brainwave responses;
               d) disregards and/or eliminates extraneous responses (“noise”)
                  which may produce false positive or false negative results;
               e) detects and disregards any attempted countermeasures by
                  suspects or others involved in conducting testing;
               f) performs appropriate analysis of P300 measured responses
                  utilizing statistical and machine learning algorithms and
                  Artificial Intelligence and
               g) generates unbiased reports for use by examiners, investigating
                  agencies and legal authorities (Ika at 4, ¶10).

       It is clear that the Brainwave Trade Secrets constitute trade secrets as defined by DTSA.

BWS has taken reasonable measures to keep its software code, user interfaces, algorithms and

hardware secret and that said software code, user interfaces, algorithms and hardware derive

independent economic value, actual or potential, from not being generally known to, and not being



                            Brainwave Science, Inc. v. Arshee et al (21-cv-4402 (BMC)
                                            Memorandum of Law
                                                  Page 6 of 10
readily ascertainable through proper means by, another person who can obtain economic value

from the disclosure or use of the information.



          B.      Defendants have violated the Defend Trade Secrets Act.


       The Defend Trade Secrets Act provides, in relevant part that, “An owner of a trade secret

that is misappropriated may bring a civil action under this subsection if the trade secret is related

to a product or service used in, or intended for use in, interstate or foreign commerce.” 18 U.S.C.

§ 1836(b)(1) (emphasis added). The term “misappropriation” includes, in relevant part, disclosure

or use of a trade secret of another without express or implied consent by a person who—


                       (ii) at the time of disclosure or use, knew or had reason to
                       know that the knowledge of the trade secret was—
                                (I) derived from or through a person who had used
                                improper means to acquire the trade secret;
                                (II) acquired under circumstances giving rise to a
                                duty to maintain the secrecy of the trade secret or
                                limit the use of the trade secret; or
                                (III) derived from or through a person who owed a
                                duty to the person seeking relief to maintain the
                                secrecy of the trade secret or limit the use of the trade
                                secret; 18 U.S.C. § 1839(5)(B)(ii)(I-III).



       Defendant Maison has admitted to, and provided evidence of, his transfer of BWS’

proprietary files and code to Farwell and BFF (Ika at 6, ¶20 and Ika Exhibit E). Within his email

correspondence of June 28, 2021, Defendant Maison, upon being confronted by BWS. admitted

that “a complete dump of the repository [containing BWS’ proprietary P300 code] was created

and shared via a Google drive” with Farwell. (Ika at 6, ¶20 and Ika Exhibit E). A subsequent

analysis by Code Similarity Checker, Codequiry®, indicates a 98-99% likelihood of



                           Brainwave Science, Inc. v. Arshee et al (21-cv-4402 (BMC)
                                           Memorandum of Law
                                                 Page 7 of 10
“plagiarism” by Farwell’s software. (Ika at 7, ¶22 and Ika Exhibit C).


           As a result of Defendants’ use of stolen code from BWS, the user interfaces of Farwell's

"Brain Fingerprinting" software are also nearly identical to the interfaces designed and

implemented by Maison during his employment with Brainwave. As illustrated by a side-by-

side comparison of the user interfaces, the system layout, fields, user prompts, tabs and overall

presentation are nearly identical.             (Ika at 7, ¶23 and Ika Exhibit D). Defendants’ brazen

implementation of BWS’ proprietary code within their own system is further evinced by their

system’s near-verbatim copying of the instructions provided to users of the system. (See Ika

Exhibit D, Page 9, “Perform Analysis”).


           Maison certainly knew at the time of these disclosures that the material disclosed had

been “acquired under circumstances giving rise to a duty to maintain the secrecy of the trade

secret or limit the use of the trade secret.” 18 U.S.C. § 1839(5)(B)(ii)(II). Defendants Admit

within their Answer that, at the inception of his employment, Maison executed Non-Disclosure

and Confidentiality and Rights Agreements with BWS, providing that all inventions, "know-

how" etc. developed by Maison in the course of his employment would remain the property of

BWS. (ECF 13 at ¶16)1.            Defendants further Admit that, during the tenure of his employment

with BWS,

                    Maison was given high-level access to a wide variety of BWS’ most
                    confidential, proprietary, and trade secret information (“BWS Trade
                    Secrets”). These BWS Trade Secrets include, but were not limited
                    to, intellectual property related to BWS’ new and developmental
                    products and operations information. Maison was given high-level
                    access to this information for the sole purpose of discharging his
                    responsibilities for BWS, LLC and BWS. (ECF 13 at ¶17)
1
    Defendants’ Admission is qualified by denying that the described information qualify as trade secrets.

                                  Brainwave Science, Inc. v. Arshee et al (21-cv-4402 (BMC)
                                                  Memorandum of Law
                                                        Page 8 of 10
Defendants further Admit that, at the conclusion of his employment in February of 2019, Maison

executed a separation agreement with BWS whereupon Maison was paid substantial

consideration in exchange for his acknowledgement of his continuing obligation(s) to comply

with the terms of the afore-referenced Employment Agreement, Non-Disclosure and Non-

Competition Agreement and Confidentiality and Rights Agreements. (ECF 13 at ¶18)


         Maison’s disclosures of the Brainwave Trade Secrets to his Co-Defendants likewise

constitute clear violations of the DTSA as the Trade Secrets had been acquired [by Maison]

under circumstances giving rise to a duty to maintain the secrecy of the trade secret or limit the

use of the trade secret.” 18 U.S.C. § 1839(5)(B)(ii)(II). Maison’s co-defendants receipt of the

Trade Secrets likewise constate violations of the DTSA as they were “derived from or through

a person [Maison] who owed a duty to the person [BWS] seeking relief to maintain the secrecy

of the trade secret or limit the use of the trade secret. 18 U.S.C. § 1839(5)(B)(ii)(III).


  III.     The Balance of Equites weighs in favor of Plaintiff’s Narrow Request for Relief.


         Injunctions are typically warranted only where the balance of equities tips in the moving

party's favor. See Winter v. Nat. Res. Def Council, Inc., 129 S.Ct. 365, 375 (2008). As set forth

herein, the continuing and imminent harm caused by Defendants’ misappropriation of Plaintiff’s

Trade Secrets is incalculable - both in terms of Plaintiff’s continued business operations and

Plaintiff’s goodwill.    In contrast, the relief proposed by Plaintiff’s present application is



                            Brainwave Science, Inc. v. Arshee et al (21-cv-4402 (BMC)
                                            Memorandum of Law
                                                  Page 9 of 10
narrowly tailored to avoid undue hardship upon Defendants while preventing further

dissemination of the Brainwave Trade Secrets pending final resolution of this claim. Plaintiff

is requesting that this Court issue an order (1) enjoining Defendants from the unauthorized

possession, use, or disclosure of the Brainwave Trade Secrets; (2) directing Defendants to

provide Brainwave with the names and contact information of all persons and entities with

whom Defendants have disclosed the Brainwave Trade Secrets; (3) directing Defendants to

recall all software embodying the Brainwave Trade Secrets and 4) requiring Defendants, prior

to demonstrating, selling or transferring any P300-related software, to obtain independent third-

party confirmation, at Plaintiff’s sole expense, that the software does not include any Brainwave

Trade Secrets. Given the balance of equities between Plaintiff and Defendants, it is respectfully

submitted that this proposed relief is both eminently reasonable and fair.


       Wherefore, based upon the foregoing, Plaintiff respectfully requests that this Court grant

Plaintiff the relief requested within its Order to Show Cause with such other and further relief

as the Court may deem just and proper.




Respectfully,


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                           Brainwave Science, Inc. v. Arshee et al (21-cv-4402 (BMC)
                                           Memorandum of Law
                                                Page 10 of 10
